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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                                Case No.: 8:19-bk-06127-CRT
                                                      Chapter 7 Case
Thomas Hadley Baker


      Debtor.
______________________/

                             NOTICE OF OPPORTUNITY TO
                          OBJECT AND REQUEST FOR HEARING

   Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days from
the date set forth on the attached proof of service, plus an additional three days for service if any
party was served by U.S. Mail.

   If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 801 N Florida Ave, Tampa, FL 33602 and serve a copy on the movant’s attorney,
Liben Amedie, Esq., 777 S. Harbour Island Blvd., Suite 215, Tampa, FL 33602, and any other
appropriate persons within the time allowed. If you file and serve a response within the time
permitted, the Court will either schedule and notify you of a hearing, or consider the response
and grant or deny the relief requested without a hearing.

  If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice
or hearing, and may grant the relief requested.
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              WYOMING COMMUNITY DEVELOPMENT AUTHORITY’S
               MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       Wyoming Community Development Authority (the “Lender”), through undersigned

counsel and pursuant to 11 U.S.C. § 362, files this verified motion for relief from the Automatic

Stay imposed by section 362 of the United States Bankruptcy Code, and states as follows:

       1.      Lender is the owner and holder of a Promissory Note with an effective date as of

October 25, 2013, in the original principal amount of $150,818.00 (the “Note”), executed by

Debtor, a true and complete copy of which is attached hereto as Exhibit A and incorporated

herein by this reference.

       2.      The Note evidences a loan (the "Loan") secured and/or further evidenced by,

among other things, a mortgage with an effective date as of October 25, 2013, executed by the

Debtor, and recorded at O.R. Book 2364, Page 956, in the Public Records of Laramie County,

Wyoming (the "Mortgage"), a true and complete copy of which is attached hereto as Exhibit B

and incorporated herein by this reference; and assignment of mortgage with an effective date as

of October 25, 2013, executed by the Debtor, and recorded at O.R. Book 2365, Pages 1322, in

the Public Records of Laramie County, Wyoming (the "Assignment of Mortgage"), a true and

complete copy of which is attached hereto as Exhibit C and incorporated herein by this

reference.

       3.      The Debtor is the current owner of the property that is the subject of the Mortgage

(the “Property”);


       4.      The Note, Mortgage and Assignment of Mortgage will collectively be referred to

hereafter as the “Loan Documents”.

       5.      The Loan Documents define a default under the Loan Documents to be, among

other things, Debtor’s failure to make any payments due under the Loan Documents.
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          6.     Debtor defaulted under the Loan Documents by failing to make the monthly

payment due on March 1, 2019 and all subsequent payments thereafter.

          7.     Lender respectfully requests the Court for relief from the automatic stay to initiate

a foreclosure action and to foreclose on the Property.

          8.     Prior to the filing of this action, undersigned counsel conferred with Debtor’s

counsel.

          9.     Debtor’s counsel informed undersigned counsel that the Debtor has no objection

to the relief sought here in being granted in rem.

          WHEREFORE, Wyoming Community Development Authority respectfully requests the

Court for entry of an order granting relief from the automatic stay imposed by 11 U.S.C. § 362 to

permit Wyoming Community Development Authority to pursue its state law remedies, and all

other relief to which the Wyoming Community Development Authority are entitled at law or in

equity.

                                                                THE LIBEN LAW FIRM


                                                     By:         /s/ Liben Amedie
                                                            LIBEN M. AMEDIE, ESQ.
                                                            (Fla. Bar No. 0027415)
                                                            777 S. Harbour Island Blvd., Suite 215
                                                            Tampa, FL 33602
                                                            Telephone: (813) 344-3422
                                                             Facsimile: (813) 354-2731
                                                             Liben@libenlaw.com
                                                            Counsel for Wyoming Community
                                                            Development
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 26, 2019 a true correct copy of the foregoing has been
furnished via Electronic Noticing to all parties receiving notice by CM/ECF, and via U.S. Mail
to: the Debtor by serving his counsel:

       Matt Holtsinger, Esq.,.
       Rywant, Alvarez, Jones, Russo, & Guyton, P.A.
       109 N. Brush Street
       Suite 500
       Tampa, Florida 33602



                                           /s/ Liben Amedie
